                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Laurie A. Stopyra                                       BK NO.     19-00152 HWV
          Gary J. Stopyra Sr.
                                  Debtor(s)                    Chapter 13

Freedom Mortgage Corporation, its successors                   Related to Document No. 52
and/or assigns
                           Movant
               vs.

Ronda J. Winnecour
                                  Respondent(s)



          RESPONSE TO DEBTOR’S MOTION TO SELL PROPERTY OF THE ESTATE

          Freedom Mortgage Corporation enters its response to the Debtor’s Motion to Sell Property of the
Estate:
          1.      Creditor’s loan is secured by a mortgage on Debtor’s property at 3274 Scotland Road,
Chambersburg, PA 17202.
          2.     Creditor would not object to the sale so long as the Order entered is clear that the sale is
not free and clear of secured creditors lien and same shall remain on the property until such time that it is
paid in full. The amount currently owed to Freedom Mortgage Corporation thru June 2, 2023 is
approximately $230,463.71. Debtor is required to obtain an updated and proper payoff quote from the
Creditor prior to closing.
          WHEREFORE, the Movant, Freedom Mortgage Corporation, prays that the Court enters an
Order requiring the Secured Creditor to be paid in full.
                                                   Respectfully submitted,

Date: May 8, 2023                                  /s/ Brian C. Nicholas___
                                                   Brian C. Nicholas, Esquire
                                                   bnicholas@kmllawgroup.com
                                                   Attorney I.D. No. 317240
                                                   KML Law Group, P.C.
                                                   701 Market Street, Suite 5000
                                                   Philadelphia, PA 19106
                                                   Phone: 201-549-5366




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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE: Laurie A. Stopyra                               BK NO. 19-00152 HWV
          Gary J. Stopyra Sr.
                                     Debtor(s)            Chapter 13

   FREEDOM MORTGAGE
   CORPORATION
                                     Movant
                    vs.

   Laurie A. Stopyra
   Gary J. Stopyra Sr.
                                     Debtor(s)

   Jack N. Zaharopoulos,
                                     Trustee

                     CERTIFICATE OF SERVICE
    RESPONSE TO DEBTOR’S MOTION TO SELL PROPERTY OF THE ESTATE
   I, Brian C. Nicholas of KML Law Group, P.C., certify that I am, and at all times hereinafter
   mentioned was, more than 18 years of age and that on May 9, 2023, I served the above captioned
   pleading, filed in the proceeding on the parties at the addresses shown below:

                                                          Attorney for Debtor(s) (via ECF)
   Debtor(s)                                              Stephen Wade Parker
   Laurie A. Stopyra                                      Mooney and Associates
   3274 Scotland Road                                     230 York Street
   Chambersburg, PA 17202                                 Hanover, PA 17331

   Gary J. Stopyra Sr.                                    Trustee (via ECF)
   3274 Scotland Road                                     Jack N. Zaharopoulos
   Chambersburg, PA 17202                                 8125 Adams Drive
                                                          Hummelstown, PA 17036


   Method of Service: electronic means or first-class mail

   Dated: May 9, 2023

                                                              /s/ Brian C. Nicholas
                                                              Brian C. Nicholas Esquire
                                                              Attorney I.D. 317240
                                                              KML Law Group, P.C.
                                                              BNY Mellon Independence Center
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